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          585698                              CHICO .....
          616109                              ANGELITA RODRIGUEZ .... WIFE OF CHICO .. MAIN PLAYER
        ~432474                               LEONARDO GERMAN ... COUSIN OF CHICO
          651879                              CANDIDO LEBRON ..... FLUNKY OF CHICO
          210560                              DIANA GARCIA
          403348                              ARTURO RODRIGUEZ .... BOYFRIEND OF DIANA ..
          616100                              JOSE NORBERTO-GOMEZ ... COMPL IN ANOTHER DOPE RIP
          524429                              JOSE VALDEZ ... UNK
          630331                              JAVIER GALINDO ... BURGLAR FROM PASADENA PD AND ATF

AS OF THIS DATE THERE HAS ONLY BEEN ONE RAP ON THE PRINTS AND THAT RAP WAS TO
ARTURO RODRIGUEZ OFF OF PAPERWORK FROM THE PURSE. WE WILL CONTINUED TO ADD
NAMES TO THE LIST FOR COMPARISON PURPOSES. INV HERNANDEZ ALSO GOT
ELIMINATION PRINTS FROM SOME OF THE FAMILY MEMBERS OF DIANA GARCIA. SEE THE
SUPPLEMENT BY INV HERNANDEZ FOR THE NAMES OF THE FAMILY MEMBERS.

WE HAVE ALSO OBTAINED BLOOD SAMPLES FROM SEVERAL MALES TO BE COMPARED WITH
THE RAPE KIT OBTAINED FROM DIANA GARCIA.


THE BLOOD THAT HAS BEEN SUBMITTED AS OF THIS DATE IS THAT OF:

           ARTURO RODRIGUEZ ..... BOYFRIEND OF DIANA
           LEONARDO GERMAN ...... ASSOCIATE OF DIANA AND ARTURO AND BOYFRIEND OF
                                  LINDA SHRADE
           BIENVENIDO MELO ...... DOPE DEALER THAT SELLS FOR CHICO
        ~JAVIER GALINDO ....... BURGLAR WHO WAS ARRESTED
           CANDIDO LEBRON ....... FLUNKY OF CHICO ... ARRESTED AT CHICO'S APARTMENT
           JAVIER GALINDO ....... BURGLAR FROM PASADENA PD


WE WILL ADD TO THIS LIST AS THE INVESTIGATION CONTINUES. SPOKE WITH DEE
WALLACE OF THE CRIME LAB ON NOVEMBER 6TH AND SHE SAID THAT SHE SENT THE SEMEN
FROM THE RAPE KIT AND THE BLOOD SAMPLES TO BE COMPARED VIA DNA.

ONE OF THE CLUES WE OBTAINED IN THIS CASE CAME FROM THE ATF AND PASADENA PD
IN REFERENCE TO TWO BURGLARS. THOMAS THOMS AND JAVIER GALINDO ARE BURGLARS
THAT WERE UNDER INVESTIGATION BY A TASK FORCE INCLUDING ATF, PASADENA, AND
THE TACT TEAM FROM MAGNOLIA SUBSTATION. TO MAKE A LONG STORY SHORT, WE
CHECKED OUT THOMS AND GALINDO AND FEEL THAT THEY ARE NOT INVOLVED IN THE
ABDUCTION MURDER. HOWEVER, THOMS AND HIS GIRLFRIEND, TRACY PRESSLY, GOT SOME
COCAINE FROM DIANA GARCIA ON THE NIGHT ANGELO WAS ABDUCTED. ACCORDING TO
PRESSLY DIANA FRONTED AN EIGHT BALL TO THOMS AND HE SAID THAT HE WOULD LIKE
TO GO BACK AND RIP HER OFF ONE DAY. THOMS IS A WHITE MALE WITH TATOOS ALL
OVER HIM. GALINDO IS HISPANIC BUT IS NOT VERY DARK. GALINDO WAS INTERVIEWED
EXTENSIVELY AND THOMS WAS UNDER ADVISEMENT OF AN ATTORNEY. IT IS OUR BELIEF
THAT THEY ARE NOT INVOLVED IN THE ABDUCTION MURDER AN THAT THEY WERE
BURGLARIZING A HOUSE IN LIVINGSTON ON THE NIGHT ANGELO DISAPPEARED.

PRESSLY CONTRADICTS DIANA GARCIA IN THAT GARCIA CLAIMS TO HAVE NOT BEEN
SE~NG DOPE ON THE NIGHT OF THIS INCIDENT. PRESSLY DESCRIBES THE
TR.r._.dACTION THAT OCCURRED BETWEEN DIANA AND THOMS AND PRESSLY SAID THAT SHE
USED PART OF THE COCAINE THOMS GOT FROM DIANA. PRESSLY'S STORY IS
CORROBORATED BY ANITA DORR, THE RELATIVE THAT WAS OVER AT ARTURO AND DIANA'S
UNTIL APPROXIMATELY 9:00PM ON THE NIGHT ANGELO WAS TAKEN. THOMS WAS IN A
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BLUE TRUCK AND WAS DESCRIBED IN DETAIL BY DORRS. DIANA ALSO ADMITS SELLING
TO THOMS ON A REGULAR BASIS BUT CLAIMS TO HAVE NOT SOLD TO HIM ON THE NIGHT
OF~IS INCIDENT.

WE ALSO HAD DIANA GARCIA AND ARTURO RODRIGUEZ TAKE POLYGRAPHS. WHEN THEY
TOOK THE POLYGRAPHS AT THE HOUSTON POLICE DEPARTMENT, ARTURO FAILED AND DIANA
GARCIA SHOWED DECEPTION. THEY WERE POLYGRAPHED FOR A SECOND TIME AT THE FBI.
IN THOSE POLYGRAPHS DIANA GARCIA WAS DEEMED TRUTHFUL ABOUT HER KNOWLEDGE
CONCERNING THIS ABDUCTION AND ARTURO STILL SHOWED SOME DECEPTION.

WE HAVE.BEEN WORKING IN CONJUNCTION WITH THE FBI ON THIS INVESTIGATION. WE
HAVE BEEN ATTEMPTING TO LOCATE CHICO FROM DAY ONE.       HE HAD A COURT DATE SET
FOR A POSSESSION CASE AND HE FAILED TO SHOW UP FOR THIS SCHEDULED COURT DATE.
A WARRANT WAS ISSUED FOR CHICO .... OBEL GARCIA .... AND HE IS PRESENTLY WANTED.
ANGELITA GARCIA ALSO HAS A POSSESSION CASE IN THE SAME COURT AS CHICO. SHE
WAS AROUND FOR COURT AND ON ONE OCCASION WE FOLLOWED HER FROM THE MOTEL ON
HIGHWAY 225 TO THE HARRIS COUNTY COURTHOUSE. SEE THE SUPPLEMENT BY SWAIM FOR
THE ACTIONS AROUND THE MOTEL PRIOR TO THE MOVING SURVEILLANCE. THE FBI
CONTINUED THE SURVEILLANCE ON ANGELITA ONCE SHE ARRIVED AT COURT AND SHE WAS
EVENTUALLY FOLLOWED TO AN ADDRESS ON WESTOVER. ANGELITA STAYED AT THIS
LOCATION FOR A SHORT TIME AND THEN LEFT.

WE EVENTUALLY WENT TO THE LOCATION ON WESTOVER .... 7523 .... THERE WAS A GOLD
COLORED DELTA 88 ... LICENSE HWG83C PARKED BEHIND THE APARTMENT. THIS VEHICLE
WAS FOUND TO BELONG TO CHICO AND ANGELITA. WE, STEPHENS, SHIRLEY, WENDELL,
AND AGENTS FROM THE FBI, JOHNSON, TAMMY, AND TWO UCS .... WENT TO THE
AP~MENT AND LEARNED THAT IT WAS OCCUPIED BY LINDA HERNANDEZ AND FRED
FEkrc~R. HERNANDEZ STATED SHE MET FERRER SEVERAL MONTHS AGO AND HE WAS THE
PERSON WHO WAS ASSOCIATED WITH CHICO AD ANGELITA. WE FELT THAT FERRER KNEW
MORE THAT HE INDICATED AND BROUGHT HIM TO THE HOMICIDE OFFICE FOR AN
ADDITIONAL INTERVIEW. HE DID NOT SPEAK ENGLISH AND HE WAS INTERVIEWED BY
STEPHENS AND INV. AVILA. FERRER DENIED ANY INVOLVEMENT IN ABDUCTING ANGELO
GARCIA. HE STATED THAT HE DID SELL DOPE FOR CHICO BUT THAT HE HAD NOT SEEN
CHICO FOR SOME TIME.
WE LATER LEARNED FROM LINDA HERNANDEZ THAT ON THE NIGHT THAT ANGELO
DISAPPEARED, CHICO CALLED FERRER FROM BAYTOWN AND SAID THAT HE NEEDED THE
OLDSMOBILE. SHE ADDED THAT THE CAR BELONGS TO CHICO AND ANGELITA BUT THAT HE
WAS LETTING FERRER DRIVE THE CAR. HERNANDEZ STATED THAT FERRER REFUSED TO GO
AND GET CHICO BUT HE TOLD CHICO THAT HE COULD HAVE THE CAR IF HE CAME AND GOT
IT. ACCORDING TO HERNANDEZ, THE CALLS CAME IN AROUND MIDNIGHT OR SHORTLY
THEREAFTER. SHE ADDED THAT AROUND 1:00AM TO 2:00AM CHICO AND RUDY CAME TO
THE APARTMENT ON WESTOVER. SHE STATED THAT CHICO WAS CALM BUT THAT RUDY WAS
VERY, VERY NERVOUS. HERNANDEZ SAID THAT THEY STAYED FOR A SHORT TIME AND
THEN RUDY AND CHICO LEFT IN THE OLDSMOBILE. SHE ALSO SAID THAT RUDY BROUGHT
THE CAR BACK THE NEXT DAY OR SO. SHE SAID THAT SHE HEARD FERRER TALKING TO
CHICO ON THE PHONE AND THAT FERRER TOLD HER THAT CHICO TOLD HIM THAT CHICO
WAS LEAVING THE COUNTRY FOR A WHILE. WHEN FERRER ASKED CHICO WHY HE WAS
LEAVING, CHICO TOLD FERRER THAT HE WOULD TELL HIM WHEN HE RETURNED.

WH~WE GOT FERRER TO THE OFFICE WE LEARNED THAT HIS REAL NAME WAS BIENVENIDO
MEI;u, DOB        .   WE ALSO LEARNED THAT HE WAS WANTED ON A PROBATION
VIOLATION FOR DELIVERY UNDER THAT NAME ... HE WAS PLACED IN JAIL UNDER THAT
OUTSTANDING WARRANT. HE WAS ALSO REINTERVIEWED AT A LATER DATE BY INV
HERNANDEZ AND SGT ALONZO. SEE THEIR SUPPLEMENT FOR DETAILS ...
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TH. _,~OMPL'S BODY WAS DISCOVERED IN BAYTOWN ON NOVERMBER 5TH. WE WENT TO THE
MORGUE AND OBSERVED THE BODY .... OR WHAT WAS LEFT OF IT. IT SHOULD BE NOTED
THAT IT APPEARED THAT THE BODY HAD BEEN IN THE WATER FOR A LONG TIME. DR.
PARUNGAO STATED THAT HIS OPINION WAS THAT THE BODY WAS IN THE WATER FOR 10
PLUS DAYS. SEE THE SUPPLEMENT BY ELLIOTT FOR DETAILS OF THE DISCOVERY OF THE
BODY.

FOLLOWING THE DISCOVERY OF THE COMPL'S BODY, WE SET OUT TO FIND RUDY AND
ANGELITA AGAIN. SINCE CHICO IS STILL ON THE RUN AND WE HAVE BEEN UNABLE TO
INTERVIEW HIM, RUDY AND ANGELITA ARE THE NEXT BEST THING. EARLIER IN THE
INVESTIGATION WHEN ANGELITA WAS LOCATED SHE HAD A NOTE PINNED TO HER SHIRT
WHICH AUTOMATICALLY INVOKED HER 5TH AND 6TH AMENDMENT RIGHTS BY HER ATTORNEY,
J.C. CASTILLO. SHE WAS LATER INTERVIEWED IN THE PRESENCE OF HER ATTORNEY, J.
C. CASTILLO. SEE THE SUPPLEMENT BY ALONZO AND HERNANDEZ FOR DETAILS.

WE FOUND THAT RUDY WAS IN THE COUNTY JAIL. HE WAS INTERVIEWED AGAIN BY INV
HERNANDEZ AND ALONZO AND AGAIN MAINTAINED THAT HE KNEW NOTHING ABOUT THE
MURDER. HE ADDED THAT AS FAR AS HE KNEW CHICO WAS IN AERO PIERDRA PUERTO
RICO.

THERE HAS BEEN TALK OF A "RIP OFF" WHERE CHICO, RUDY, ANGELITA, DIANA,
ARTURO, AND CESAR GOT A LARGE SUM OF MONEY. RUDY WAS ASKED ABOUT THIS RIP
OFF IN THE EVENT THAT IT TIED INTO THE ABDUCTION AND MURDER OF ANGELO GARCIA.
H~~NFIRMED THAT IT OCCURRED, HOWEVER, HE HAD LITTLE INFORMATION TO ADD.
AG.t_- ...J, SEE THE SUPPLEMENT BY HERNANDEZ AND ALONZO. RUDY DOESN'T SPEAK
ENGLISH.

DUE TO THE FACT THAT WE KNOW THAT CHICO AND ANGELITA HAVE TIES TO
PASADENA .... THEY STAYED AT THE PASADENA MOTOR INN LOCATED AT 225 AND THE
BELTWAY ..... WE ATTEMPTED TO CHECK THE PHONE LOGS FROM THE MOTEL TO SEE IF
THERE WAS A CALL PLACED TO LINDA HERNANDEZ'S HOUSE ON THE NIGHT ANGELO
DISAPPEARED. AS NOTED EARLIER, HERNANDEZ STATED THAT CHICO CALLED FROM
BAYTOWN ON THE NIGHT OF THIS INCIDENT AND ASKED TO USE THE CAR. SWAIM AND
BROWN WENT TO THE MOTEL AND LEARNED THERE HAD BEEN NO LONG DISTANCE CALLS
PLACED FROM THE MOTEL ROOM BY CHICO OR ANGELITA. WE ALSO CHECKED TO SEE IF
THERE WAS A CAB TAKEN TO THE LOCATION ON WESTOVER AND LEARNED THAT THE
DEPARTURE LOCATION IS MANDATORY FOR SUCH A CHECK. SINCE WE HAD NO ADDRESS IN
BAYTOWN THIS WAS NOT DONE.

WE THEN SET OUT TO FIND ANGELITA AGAIN. SGT ELLIOTT LEARNED THE BONDING
COMPANY THAT MADE BOND ON ANGELITA AND WENT TO THIS COMPANY AND OBTAINED A
COPY OF THE APPLICATION. IT SHOULD BE NOTED THAT IN NOVEMBER OF 1991,
ANGELITA LISTED HER ADDRESS AS                               . A COPY OF
THIS APPLICATION IS ATTACHED TO THE CASE FILE.

WE ALSO LEARNED THAT THERE WAS ANOTHER CASE INVOLVING A DOPE RIP OFF IN THE
SAME AREA OF TOWN AS THIS INCIDENT. IN THIS SECOND INCIDENT, TWO MALES WERE
KI~D AND THE SUSPECTS WERE SUPPOSED TO BE JAMAICAN. WE CALLED DIANA BACK
TO--~uAIN GO OVER THE ACCENT THAT SHE SAID THE SUSPECTS USED WHEN THEY WERE IN
THE APARTMENT. SHE CLAIMS THAT THE SUSPECTS WERE NOT AMERICAN BLACKS, NOT
MEXICAN, AND NOT CHICANO.    SHE SAID THAT THE ACCENT WAS DEFINITELY HISPANIC
BUT WAS LIKE SOMEONE FROM PUERTO RICO OR COLUMBIA. THERE IS ONE SUSPECT
ARRESTED IN THIS JAMAICAN CASE AND SEVERAL OTHERS IDENTIFIED. OBTAINED THE
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HPD NUMBERS OF THE IDENTIFIED SUSPECTS AND SENT THEM TO SALDIVAR IN LATENT
PRINTS. THE HPD NUMBERS ARE :651078Z(THOMAS}, 651096(NELSON),
53~8 (SIMON} .

CALLED CRIME STOPPERS AND TALKED TO SGT GILBERT. SGT GILBERT WAS ASKED IF
THE REWARD IN THIS CASE COULD BE ENHANCED DUE TO THE AGE OF THE COMPL AND THE
NATURE OF THE CRIME. GILBERT CALLED SOME OF THE BOARD MEMBERS FOR CRIME
STOPPERS AND RAN THE IDEA PAST THEM. HE THEN CALLED BACK AND SAID THAT THEY
WOULD ASK FOR $5000 DURING A SPECIAL MEETING ON TUESDAY. HE WILL LET US
KNOW.

CALLED MEDIA RELATIONS AND SET UP A NEWS CONFERENCE FOR TUESDAY AFTERNOON.
THIS WILL BE TO ANNOUNCE THE REWARD AND TO PUBLICIZE THE CASE ONE MORE TIME
IN HOPES THAT THE MONSTERS THAT KILLED THIS SMALL CHILD WILL TALK OR WILL
HAVE TOLD SOMEONE WHO WILL BE PROMPTED TO CALL.

GOT A CALL FROM A FEMALE WHO REFUSED TO GIVE HER NAME. SHE SAID THAT SHE IS
CLOSE TO THE FAMILY AND WANTED US TO KNOW THE FOLLOWING INFORMATION.
 SHE STATED THAT DIANA AND ARTURO WERE SELLING DRUGS FROM THE APARTMENT UP
UNTIL THE NIGHT OF THIS INCIDENT. THE CALLER ADDED THAT THE DAY ANGELO WAS
TAKEN, DIANA AND ARTURO HAD TAKEN THE DOPE AND THE MONEY OUT OF THE APARTMENT
BECAUSE THEY WERE AFRAID THAT THEY WERE ABOUT TO BE BUSTED BY SOME PEOPLE
THEY SUSPECTED AS POLICE WHO HAD BEEN SITTING ACROSS THE STREET FROM THE
APARTMENTS. IT SHOULD BE NOTED THAT WE LEARNED THAT THE MAJOR OFFENDER'S
UNIT WAS WATCHING A "FENCE" LOCATED ON THE NEXT STREET OVER AND HAD BEEN
DOING SO FOR APPROXIMATELY A WEEK. THE CALLER SAID THAT DIANA'S COUSIN NAMED
RU~ WENT AND WROTE DOWN THE LICENSE PLATE NUMBER TO ONE OF THE VEHICLES
OCL_jIED BY THE SUSPECTED NARCOTICS OFFICERS. THE CALLER ALSO SAID THAT
RUBEN STAYS IN THE APARTMENTS ON WINFREE WHERE DIANA AND ARTURO USED TO LIVE.
IT SHOULD BE NOTED THAT THE DIRECTIONS THE CALLER GAVE TO RUBEN'S APARTMENT
LEAD TO THE APARTMENT OCCUPIED BY LINDA SHRADE. THIS IS ALSO THE SAME
APARTMENT WHERE WE LOCATED LEONARDO GERMAN ....

I ASKED THE CALLER HOW MUCH DOPE DIANA AND ARTURO WOULD SELL. SHE STATED
THAT THEY SOLD MOSTLY 20S IN POWDER FORM. SHE ALSO SAID THEY WOULD
OFTENTIMES TAKE PROPERTY AS WELL AS MONEY.

DURING THE EARLY STAGES OF THIS INVESTIGATION WE LEARNED ABOUT THE
SURVEILLANCE CONDUCTED BY MAJOR OFFENDERS. WE INITIALLY TALKED TO SGTS SITZ
AND THOMAS AS THEY WERE ON THE SURVEILLANCE PARKED BY BARNETT STADIUM. WE
ALSO LEARNED THAT THE INVESTIGATION WAS HEADED BY SGT CULLAR AND I TALKED TO
HIM BRIEFLY. AFTER THE DISCOVERY OF THE BODY, I CALLED CULLAR BACK AND
REINTERVIEWED HIM CONCERNING THE INFORMATION HE NOTED AS HE WAS ON
SURVEILLANCE.
CULLAR STATED THAT HE WAS ON THE SURVEILLANCE ON THE NIGHT OF THIS INCIDENT,
9-30-92. HE ADDED THAT AROUND 10:30 TO 11:00PM HE MOVED HIS SURVEILLANCE
FROM THE PARKING AREA OF BARNETT STADIUM TO A LOCATION ON THE GULF FREEWAY
SERVICE ROAD. HE ALSO SAID THAT PRIOR TO MOVING HIS SURVEILLANCE, HE NOTED
A SMALL VAN, EITHER A FORD AEROSTAR OR A CHEVY ASTRO VAN, PARKED OVER BY THE
AP~MENTS(WHERE DIANA AND ARTURO LIVE) ON FAIRWAY. ACCORDING TO CULLAR, THE
VAh NAS PARKED HEADED TOWARD BROAD STREET ON THE APARTMENT SIDE OF THE
STREET.   HE ADDED HAT HE CAN'T BE SURE OF THE EXACT TIME THE VAN WAS PARKED
AT THE APARTMENTS, BUT HE THINKS IT WAS AROUND 9:30PM TO 10:30PM. SGT CULLAR
DESCRIBED THE VAN AS SILVER AND MAROON BUT HE COULD BE WRONG. HE ALSO STATED
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THAT HE DID NOT NOTICE THE OCCUPANTS OF THE VAN.

AS~ SGT CULLAR IF THERE WERE ANY VEHICLES THAT PULLED ALONGSIDE OF HIM
WHi-~ HE WAS ON SURVEILLANCE. HE STATED THAT HE DOES NOT REMEMBER ANY AND HE
THINKS THIS WOULD HAVE GOTTEN HIS ATTENTION ENOUGH FOR HIM TO MOVE. HE ALSO
SAID THAT HE DID NOT FLASH HIS LIGHTS AT ANYONE THAT NIGHT.· THIS WOULD
INDICATE THAT THE VEHICLE OBSERVED BY ISABEL MARTINEZ WAS PROBABLY THE
SUSPECT VEHICLE. AS NOTED IN HIS STATEMENT THERE WAS A TALL BLACK MALE
STANDING BY THE VAN AND A SMALLER CAR.

WE THEN WENT AND INTERVIEWED AC.I. WITH WHOM WE SPOKE EARLIER.                                                                    SEE THE
SUPPLEMENT BY SGT SWAIM FOR DETAILS.


FOLLOWING THE INTERVIEW WE WENT TO BAYTOWN TO SEE THE AREA WHERE THE BODY WAS
FOUND. WE NOTED THERE WAS AN APARTMENT COMPLEX LOCATED SEVERAL HUNDRED YARDS
FROM THE WATER. WHEN WE RETURNED TO THE OFFICE WE GOT WITH ELLIOTT AND
LEARNED THAT THE OFFICER THAT SUPPOSEDLY HAS SECURITY FOR THE COMPLEX IS
NAMED ROGER CLIFFORD. CALLED THE NUMBER OBTAINED BY ELLIOTT AND TALKED WITH
THE MANAGER OF THE COMPLEX, KELLY ...... 422-3214 ...... HM# .. 427-0123 ...... .
KELLY WAS ASKED IF THERE WERE ANY COLUMBIAN OR PUERTO RICAN PEOPLE LIVING AT
THE COMPLEX. SHE SAID THAT SHE WAS NOT FAMILIAR WITH ANY BUT THAT SHE WOULD
CHECK HER FILES. THEN ASKED HER IF THERE WERE ANY OCCUPANTS THAT DROVE A
MINI VAN. AT FIRST SHE SAID THAT SHE DIDN'T KNOW OF ANY, THEN SHE CALLED
BACK A SHORT TIME LATER AND SAID THAT THERE IS ONE THAT FREQUENTS THE
APARTMENT LATE AT NIGHT. SHE ALSO SAID THAT THERE IS AN APARTMENT ON THE
BA~SIDE OF THE COMPLEX THAT THE VAN SEEMS TO VISIT, AND THIS APARTMENT IS
occ~·PIED BY SEVERAL HISPANIC MALES. WE WILL GO TO BAYTOWN AND MEET WITH
KELLY AND GET THE INFORMATION ON THESE MALES .....




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          * ENTRY FROM DATE-110992 TIME-1318 TO DATE-110992 TIME-1320       *
          * TRANSFER DEVICE: AST 386SX 105011. HJM/HJN                      *
          * TRANSFER DATE-110992 TIME-1321    LOAD DATE-110992 TIME-1326    *
          * LOCATION OF OFFENSE: POLICE DISTRICT-CONFIDENTIAL      DIST-CO *
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